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                                                  Case No. 3:23-cv-03461-TLT-RMI
       PLAINTIFFS’ NOTICE PER L.R. 7-13 REGARDING MOTION TO DISMISS
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 8                            UNITED STATES DISTRICT COURT
                            DISTRICT OF NORTHERN CALIFORNIA
 9
                                 SAN FRANCISCO DIVISION
10

11 COURTNEY MCMILLIAN and RONALD                         Case No. 3:23-cv-03461-TLT-RMI
   COOPER, on behalf of themselves and all others
12
   similarly situated,
13
                   Plaintiffs,                           PLAINTIFFS’ NOTICE PER L.R. 7-13
14                                                       REGARDING MOTION TO DISMISS
          v.
15
   X CORP., f/k/a/ TWITTER, INC.,                        Judge: Trina L. Thompson
16
   X HOLDINGS, ELON MUSK, DOES,                          Magistrate Judge: Robert M. Illman
17
                   Defendants.
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20          Plaintiffs Courtney McMillian and Ronald Cooper, on behalf of themselves and all others

21 similarly situated, hereby submit the following Notice, pursuant to Civil Local Rule 7-13, as

22 follows.

23          Defendants submitted a Notice of Motion and Motion to Dismiss Plaintiffs’ Amended

24 Complaint, Memorandum of Points and Authorities (“Motion to Dismiss”) to the Court on January

25 9, 2024. Dkt. 38. Plaintiffs filed an Opposition to Defendants’ Motion to Dismiss on February 12,

26 2024. Dkt. 45. Defendants filed a Reply in Support of their Motion to Dismiss on February 23,
27 2024. Dkt. 50. This has been under submission for more than 120 days, so Plaintiffs respectfully

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                                                  Case No. 3:23-cv-03461-TLT-RMI
       PLAINTIFFS’ NOTICE PER L.R. 7-13 REGARDING MOTION TO DISMISS
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         Case 3:23-cv-03461-TLT Document 94 Filed 06/24/24 Page 3 of 3


 1 submit this Notice of Pending Submission under Civil Local Rule 7-13. Magistrate Judge Robert

 2 M. Illman stayed discovery in the above-captioned case pending a decision on the Motion to

 3 Dismiss on April 16, 2024 (Dkt. 77), and other litigation against Defendants continues to move

 4 forward.1

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 6 DATED: June 24, 2024                                              Respectfully submitted,

 7                                                                   Sanford Heisler Sharp, LLP

 8                                                                   By: /s/ Dacey Romberg
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14                                                                   and the Potential Class

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       Opposition re Discovery Letter Brief, Adler v. Twitter, Inc, No. 3:23-cv-01788, Dkt. 63 (N.D. Cal. June 18, 2024);
26   Mot. to Certify Class, Ma v. Twitter, Inc et al, No. 3:23-cv-01788, Dkt. 50 (N.D. Cal. June 17, 2024); Minute Entry
     for Initial Case Management Conference, Agrawal et al v. Musk et al, No. 3:24-cv-01304, Dkt. 60 (N.D. Cal. June 14,
27   2024); Stipulation and Ord. to Modify Briefing Scheduling for Pls.’ Mot. for Class Certification, Schobinger v. Twitter,
     Inc. et al, No. 3:23-cv-03007, Dkt. 60 (N.D. Cal. May 24, 2024); Notice of Service of Pls.' Second Request for Produc.
     of Docs., Arnold et al v. X Corp. et al, No. 1:23-cv-00528, Dkt. 81 (D. Del. April 30, 2024).
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                                                    Case No. 3:23-cv-03461-TLT-RMI
         PLAINTIFFS’ NOTICE PER L.R. 7-13 REGARDING MOTION TO DISMISS
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